                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE

  M.B., et al.,                                          )
                                                         )
             Plaintiff,                                  )
                                                         )
  v.                                                     )       No. 3:21-CV-317
                                                         )       Jury Trial Demanded.
                                                         )
  GOVERNOR BILL LEE, et al.                              )
                                                         )
             Defendant.                                  )


       RESPONSE IN OPPOSITION TO MOTION FOR ATTORNEYS’ FEES AND COSTS


             Comes Now Defendant Knox County Board of Education (“KCBOE”), by and through

  counsel, and submits this Response in Opposition to Plaintiffs’ Motion for Attorneys’ Fees.

  Because Plaintiffs are not entitled to fees at the preliminary injunction stage, the requested lodestar

  amount is unreasonable, and Plaintiffs’ attorneys are not entitled to an upward deviation, KCBOE

  requests that the Court deny Plaintiffs’ motion for attorneys’ fees and costs.

        I.      Plaintiffs are not entitled to fees at this preliminary stage in the proceeding.

             Under § 1988(b), “the court, in its discretion, may award the prevailing party . . . a

  reasonable attorney’s fees as part of the costs[.]” In order to be a “prevailing party” for the

  purposes of attorneys’ fees, “a party must have obtained a judicially-sanctioned change in the legal

  relationship of the parties.” Jones v. Haynes, 350 F. Supp. 3d 691, 694 (6th Cir. 2018) (citing

  Toms v. Taft, 338 F.3d 519, 528 (6th Cir. 2003)). Thus, “[o]nly enforceable judgments on the

  merits and court-ordered consent decrees create the material alternation of the legal relationship

  of the parties necessary to permit an award of attorney’s fees.” Toms, 383 F.3d at 528-29 (quoting

  Buckhannon Bd. and Care Home, Inc. v. W. Va. Dept. of Health and Human Resources, 532 U.S.


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  598, 600 (2001)). “Stated differently, a plaintiff qualifies as a prevailing party when the plaintiff

  wins relief on the merits in the form of a court order, consent decree, or judicially-enforced

  settlement that materially alters the legal relationship between the parties by modifying the

  defendant’s behavior in such a way that directly benefits the plaintiff.” Haynes, 350 F.3d at 695

  (citing Sole v. Wyner, 551 U.S. 74, 82 (2007) (“The touchstone of the prevailing party inquiry . . .

  is the material alteration of the legal relationship of the parties . . . .”)).

          Contrary to Plaintiffs’ assertions, they are not entitled to attorneys’ fees simply because

  they obtained preliminary injunctive relief following an evidentiary hearing. See Plaintiffs’

  Memorandum, Doc. 87-1, p. 3-7, PageID# 1352-1356. In McQyeary v. Conway, 614 F.3d 591,

  596 (6th Cir. 2010), the Sixth Circuit addressed the issue of whether a plaintiff who obtains a

  preliminary injunction is entitled to attorneys’ fees. In that case, the Sixth Circuit rejected a per

  se rule that a plaintiff is always entitled to fees after prevailing on a preliminary injunction because

  “[s]ome preliminary injunctions have nothing to do with the merits, offering no insight into

  whether one party or the other will prevail at the end of the case,” such as “stay-put or status quo

  injunctions” that “turn more on the graveness of irreparable harm to one party or the public interest

  than on the legal virtues of the parties’ positions.” Id. at 600. The Sixth Circuit also rejected a per

  se rule that plaintiffs are never entitled to fees after obtaining a preliminary injunction and instead

  stated that the district court must make a “contextual and case-specific inquiry” regarding the

  propriety of fees. Id. at 601. The Sixth Circuit also cautioned “that the preliminary nature of the

  relief together with the requirement that a prevailing party victory must create a lasting change in

  the legal relationship between the parties and not merely catalyze the defendant to voluntary

  action—will generally counsel against fees in the context of preliminary injunctions.” Id. The

  court-ordered change in the legal relationship between the parties must be “enduring and



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  irrevocable.” McQueary, 614 F.3d at 597; Miller v. Davis, 267 F. Supp. 3d 971, 976 (E.D. Ky.

  2017). “Thus a preliminary injunction does not establish prevailing party status if it is reversed,

  dissolved, or otherwise undone by a final decision in the same case because Section 1988 requires

  lasting relief, not the temporary, fleeting success that an injunction represents.” Haynes, 350 F.

  Suppp. 3d at 695 (citing McQueary, 614 F.3d at 597).

         Here, Plaintiffs have not achieved “irrevocable and enduring change” to a KCBOE policy

  because the preliminary injunction has been appealed to the Sixth Circuit and no final

  determination on the merits has been reached by the district court. The cases cited by the Plaintiff

  do not compel a different result. In Webster v. Sowders, 846 F.2d 1032 (6th Cir. 1988), the Sixth

  Circuit reversed the district court’s award of interim attorneys’ fees noting that the preliminary

  injunction was a “procedural victory and did not qualify them for attorneys’ fees.” Id. at 1036. In

  Miller v. Caudill, 936 F.3d 442 (6th Cir. 2019), the district court dismissed the case as moot due

  to an intervening change in the law before the appeal of the preliminary injunction was complete

  and before a final decision on the merits had been rendered. The court then awarded fees after the

  case had been mooted by the subsequent action. In Tucker v. City of Fairfield, 2006 U.S. Dist.

  LEXIS 16996 (S.D. Ohio Feb. 8, 2006), fees were awarded after the preliminary injunction had

  been upheld on appeal. The remaining cases cited by the Plaintiffs involve cases where the

  injunction was mooted as a result of some subsequent state action which may be relevant to the

  Plaintiffs’ claims against the State but do no require the Court to award attorneys fees from

  KCBOE. Plaintiffs have not cited a single case determining that interim attorneys’ fees are

  appropriate during the pendency of an appeal of the preliminary injunction. Given that the

  preliminary injunction may be modified or dissolved on appeal, the request for fees from KCBOE

  is premature at this time and Plaintiffs’ motion should be denied.



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  II.     Plaintiffs’ Requested Fees Are Not Reasonable.

          The requested hourly rate sought be Plaintiffs’ counsel is not reasonable considering the

  market rates of the surrounding community and the duplication of Plaintiffs’ work across similar

  litigation filed in other districts. Further, Plaintiffs have not demonstrated that the issues presented

  here regarding the requirements of the ADA and Section 504 so “rare” and “exceptional” that this

  matter warrants the requested upward deviation in rates. Finally, Plaintiffs’ counsel have billed on

  a quarter-hour basis and submitted duplicative fees, both of which call for a reduction of the

  requested attorneys’ fees. Accordingly, KCBOE believes that any award of attorneys’ fees should

  be reduced.

          A.      The Requested Hourly Rate is not Reasonable.

          If the Court determines that the Plaintiff is the prevailing party, then it must determine if

  the fee request is reasonable. Wayne v. Village of Sebring, 36 F.3d 517, 531 (6th Cir. 1994). “To

  arrive at a reasonable hourly rate, courts use as a guideline the prevailing market rate, defined as

  the rate that lawyers of comparable skill and experience can reasonably expect to command within

  the venue of the court of record.” Geier v. Sundquist, 372 F.3d 784, 791 (6th Cir. 2004). In

  determining the appropriate hourly rate to apply, the district court must consider the prevailing

  market rate in the relevant community, which for fee purposes, is the legal community within the

  court’s territorial jurisdiction or venue. Brooks v. Invista, No. 1:05-cv-328, 2008 U.S. Dist. LEXIS

  7288, 2008 WL 304893, at *3 (E.D. Tenn. Jan. 30, 2008) (citing Adcock-Ladd v. Sec’y of the

  Treasury, 227 F.3d 343, 349 (6th Cir. 2000)). It should be at a rate “necessary to cause competent

  legal counsel to perform the work required.” EEOC v. Dolgencorp, LLC, 277 F. Supp. 3d 932, 966

  (E.D. Tenn. 2017). The appropriate or reasonable hourly rate “may not, however, exceed the

  amount necessary      to    cause     competent        legal   counsel   to    perform     the    work



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  required.” Id. (citing Coulter v. Tennessee, 805 F.2d 146, 148 (6th Cir. 1986), abrogated on other

  grounds by, The Ne. Ohio Coal. For the Homeless v. Husted, 831 F.3d 686 (6th Cir. 2016)).

         Here, the Plaintiffs seek $500 an hour for Attorney Justin Gilbert and $400 an hour for

  Attorney Jessica Salonus, which are outside the hourly rates awarded by the Eastern District in

  other complex litigation. See Vanderhoef v. Dixon, No. 3:16-cv-508-TAV-DCP, 2020 U.S. Dist.

  LEXIS 144549 at *20-21 (E.D. Tenn. May 4, 2020) (recommending that the attorney be awarded

  $350 an hour rather than the requested $400); Herring v. SCI Tenn. Funeral Servs., LLC, No. 2:15-

  cv-280, 2018 U.S. Dist. LEXIS 88206 (E.D. Tenn. May 4, 2018), report and recommendation

  adopted by 2018 U.S. Dist. LEXIS 87331 (E.D. Tenn. May 24, 2018) (awarding lead attorney with

  nearly 18 years of experience in civil rights and employment law at a $350 hourly rate). In EEOC

  v. Dolgencorp, Magistrate Judge Guyton noted the Declaration of Attorney Wade Davies, “stating

  that a billable hourly rate of $250-$350 is within a reasonable range in the Knoxville, Tennessee

  market for attorneys with approximately 10 years of experience who are accomplished in their

  primary area of practice.” No. 3:15-cv-441, 2017 U.S. Dist. LEXIS 163739, at *6 (E.D. Tenn.

  Aug. 7, 2017), report and recommendation adopted by 277 F. Supp. 3d 932 (E.D. Tenn. 2017).

         B.      The Work Performed by Plaintiffs’ Counsel is not so “Rare” and
                 “Exceptional” as to Warrant an Upward Deviation in Rate.

         In addition to the hourly fee request, Plaintiffs’ counsel contends that they are entitled to

  an upward deviation of the hourly rate because of the “novelty” and “difficulty” presented by this

  case. Accordingly, they seek $875 and $700 an hour respectively. While it is true that courts may

  increase the hourly rate, the Supreme Court has cautioned that upward adjustments are permissible

  only in “rare” and “exceptional” cases. Pennsylvania v. Delaware Valley Citizens’ Council for

  Clean Air, 478 U.S. 546, 564 (1986). The issues in this case and specifically, the scope and

  application of the ADA and Section 504 as argued by KCBOE, do not warrant an upward deviation

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  of fees. Further, Plaintiffs are seeking an almost double upward deviation in the hourly rate. “[T]he

  upward adjustment . . . may be no more than one third of the lodestar and any additional adjustment

  would require the most exacting justification.” Geier, 372 F.3d at 793. Plaintiffs have not

  demonstrated that this is a case which warrants an upward deviation in fees. Indeed, Plaintiffs

  have argued in the Sixth Circuit that oral argument is not necessary because the issues in the appeal

  are “straightforward.” [Plaintiff’s Brief, Doc. 21, p. 2].

         Moreover, this matter is one of three matters filed across the state seeking to enjoin

  Executive Order 84. See G.S. v. Lee, No. 2:21-cv-02552 (W.D. Tenn.); R.K. v. Lee, No. 3:21-cv-

  00725 (M.D. Tenn.). Plaintiffs’ counsel are the co-counsel of record in the case filed in the Middle

  District and their co-counsel in the R.K. matter also filed a similar lawsuit in the Western District

  of Tennessee. See G.S. v. Lee, No. 2:21-cv-02552 (W.D. Tenn.). The legal issues and factual basis

  presented in each suit contain substantial overlap. Plaintiffs’ attorneys are seeking similar fees

  and the same hourly rate in both cases with no consideration given to the overlap between the three

  matters. “The fundamental principle in calculating fee awards is making an award that is adequate

  to attract competent counsel but does not constitute a windfall to attorneys.” Louisville Black

  Police Officers Organization, Inc. v. Louisville, 700 F.2d 268, 278 (6th Cir. 1983). Awarding

  Plaintiffs’ counsel fees at this exorbitant rate is not warranted in this matter and would result in a

  “windfall” to Plaintiffs’ counsel.

         In light of the prevailing market conditions in the Eastern District of Tennessee and because

  Plaintiffs have not demonstrated that this is the “rare” and “exceptional” case that warrants a fee

  increase, KCBOE contends that should attorneys’ fees be awarded, the hourly rates should

  therefore be reduced to $350 an hour for Mr. Gilbert and $250 an hour for Ms. Salonus.

         C.      KCBOE Objects to Specific Fee Requests by the Plaintiffs’ Counsel.



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         First, KCBOE objects to counsel’s use of quarter-hour billing. It is clear that in this

  District, “the use of quarter-hour billing is disfavored.” Yellowbook Inc. v. Bradenberry, 708 F.3d

  837, 849 (6th Cir. 2013); L.H., 356 F. Supp. 3d at 727-28 “Quarter-hour increments are a fee-

  enhancing, rather than a fee-constraining, mechanism.” Bench Billboard Co. v. City of Toledo, 759

  F. Supp. 2d 905, 914 (N.D. Ohio 2010) aff’d in part, rev’d in part, 499 F. App’x 538 (6th Cir.

  2012). “Billing in quarter-hour increments generates a fee that is 15% higher than billing in a tenth

  of an hour.” Id. “District courts typically account for quarter-billing inaccuracy by reducing the

  number of hours worked by a percentage amount.” Id.; see also Corbis Corp. v. Starr, 719 F. Supp.

  2d 843, 846 (N.D. Ohio 2010) (“quarter hour billing and conclusory descriptions 'invite downward

  adjustment' of attorney's fees”). KCBOE requests that the Court reduce any amount awarded to

  Plaintiffs’ counsel by 15 percent to offset the use of quarter-hour billing.

         Further, fees should be reduced to account for the duplicative fees sought by Plaintiffs’

  counsel. KCBOE acknowledges that when a party is represented by two separate attorneys, some

  overlap of billing hours is inevitable. However,

         Counsel for the prevailing party should make a good-faith effort to exclude from a
         fee request hours that are excessive, redundant, or otherwise unnecessary, just as a
         lawyer in private practice ethically is obligated to exclude such hours from his fee
         submission. In the private sector, billing judgment is an important component in
         fee setting. It is no less important here. Hours that are not properly billed to one's
         client also are not properly billed to one’s adversary pursuant to statutory authority.

         Hensley v. Eckerhart, 461 U.S. 424, 434 (1983).

         When the working relationship between the two lawyers is one of co-counsel, “the

  opposing party should not bear the total burden of double expenditures for attorney time.”

  Williamson Cnty. Bd. of Educ. v. C.K., No. 3:07-0826, 2009 U.S. Dist. LEXIS 59118, at *9 (M.D.

  Tenn. July 9, 2009) *9 (quoting with approval Mass. Dep’t of Pub. Health v. Sch. Comm., 841 F.

  Supp. 449, 459 (D. Mass. 1993)). In that matter, the court took into consideration double billing

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  of joint court appearances where only one attorney was primarily responsible for addressing the

  court. Id. Here, there is substantial overlap in the billing by both attorneys. For example, Mr.

  Gilbert and Ms. Salonus billed 12 hours and 8.75 hours respectively for preparation for the

  preliminary injunction hearing. They both also billed for attendance at the hearing. However, Mr.

  Gilbert was the only attorney who addressed the Court at the hearing. KCBOE should not bear

  the burden of this fee duplication. There are also additional billing requests for communication

  and consultation with co-counsel. KCBOE requests that any fee award be reduced to account for

  this overlap. Although KCBOE is not privy to the fees requested by these attorneys in the R.K. v.

  Lee matter, the same logic would apply; Plaintiffs’ attorneys should not be entitled to a windfall

  for recycling substantially similar work in another jurisdiction.

         Finally, KCBOE requests that the Court consider the respective arguments made by

  KCBOE and the State in the preliminary injunction hearing and award fees on a proportional basis.

  KCBOE has specifically confined its arguments to its interpretation of the ADA and Section 504.

  It has not argued that masks are not effective or that COVID-19 is not a significant and serious

  illness. Further, it did not argue that the Plaintiffs were required to exhaust their remedies under

  the IDEA, which was a substantial issue at the preliminary hearing. KCBOE requests that any fee

  award take into consideration the arguments put forth by KCBOE and the State to award a

  proportional fee.

                                               CONCLUSION

         The Plaintiffs are not entitled to any fees from KCBOE at this stage because they have not

  obtained “irrevocable and enduring” change as this matter is still on appeal and no final

  determination has been made. To the extent that the Court does award interim attorneys’ fees,




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  Plaintiffs are not entitled to their requested hourly rate. Finally, KCBOE requests that the Court

  reduce Plaintiffs’ request to account for quarter-hour billing and duplicative billing.




                                                         s/David M. Sanders
                                                         David M. Sanders (BPR # 016885)
                                                         Amanda Lynn Morse (BPR # 032274)
                                                         Deputy Law Director
                                                         Suite 612, City-County Building
                                                         400 Main Street
                                                         Knoxville, TN 37902
                                                         (865) 215-2327




                                   CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing was filed electronically on the date recorded
  by the Court’s electronic filing system. Notice of this filing will be sent by operation of the Court’s
  electronic filing system to all parties indicated on the electronic filing receipt. All other parties
  will be served by regular United States Mail, postage prepaid. Parties may access this filing
  through the Court’s electronic filing system.

                                                         s/David M. Sanders
                                                         David M. Sanders




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